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Signed: June 20, 2019

                                  ____________________________________
                                  DAVID R. JONES
                                  UNITED STATES BANKRUPTCY JUDGE
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